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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


JAMIE LAMONT HALL,

               Plaintiff,                                    Hon. Ellen S. Carmody

v.                                                           Case No. 1:16-cv-1474

BERRIEN COUNTY, et al.,

            Defendants.
_________________________________/

                                            OPINION

               This matter is before the Court on Defendants’ Motion for Summary Judgment.

(ECF No. 33). The parties have consented to proceed in this Court for all further proceedings,

including trial and an order of final judgment. 28 U.S.C. ' 636(c)(1). By Order of Reference,

the Honorable Janet T. Neff referred this case to the undersigned. For the reasons discussed

herein, Defendants’ motion is granted and this matter is terminated.

I.             Background

               The following allegations are contained in Plaintiff’s complaint. (ECF No. 1).

On April 10, 2015, Plaintiff was driving his vehicle when he was stopped and detained by Berrien

County Sheriff’s Deputies Tim Dyer and John Doe. Deputies Dyer and/or Doe accused Plaintiff

of being a drug dealer and possessing illegal drugs. The deputies, however, discovered no illegal

drugs on Plaintiff’s person or within his vehicle. Deputies Dyer and/or Doe had previously

reported information which led to Plaintiff being falsely charged with criminal activity.

               Plaintiff initiated this action on December 29, 2016, against Berrien County, the

Berrien County Sheriff’s Department, Berrien County Sheriff Paul Bailey, Deputy Dyer, and
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Deputy Doe. Plaintiff alleges that his Fourth and Fourteenth Amendment rights were violated.

Plaintiff also alleges several state law causes of action: false imprisonment, malicious prosecution,

and intentional infliction of emotional distress. Defendants now move for summary judgment.

Plaintiff has failed to respond to Defendants’ motion.

II.            Summary Judgment Standard

               Summary judgment Ashall@ be granted Aif the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.@ Fed.

R. Civ. P. 56(a). A party moving for summary judgment can satisfy its burden by demonstrating

Athat the respondent, having had sufficient opportunity for discovery, has no evidence to support

an essential element of his or her case.@ Minadeo v. ICI Paints, 398 F.3d 751, 761 (6th Cir. 2005).

Once the moving party demonstrates that Athere is an absence of evidence to support the

nonmoving party=s case,@ the non-moving party Amust identify specific facts that can be established

by admissible evidence, which demonstrate a genuine issue for trial.@ Amini v. Oberlin College,

440 F.3d 350, 357 (6th Cir. 2006).

               While the Court must view the evidence in the light most favorable to the non-

moving party, the party opposing the summary judgment motion Amust do more than simply show

that there is some metaphysical doubt as to the material facts.@ Amini, 440 F.3d at 357. The

existence of a mere Ascintilla of evidence@ in support of the non-moving party=s position is

insufficient. Daniels v. Woodside, 396 F.3d 730, 734-35 (6th Cir. 2005). The non-moving party

Amay not rest upon [his] mere allegations,@ but must instead present Asignificant probative

evidence@ establishing that Athere is a genuine issue for trial.@ Pack v. Damon Corp., 434 F.3d

810, 813-14 (6th Cir. 2006).


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               Moreover, the non-moving party cannot defeat a properly supported motion for

summary judgment by Asimply arguing that it relies solely or in part upon credibility

determinations.@ Fogerty v. MGM Group Holdings Corp., Inc., 379 F.3d 348, 353 (6th Cir.

2004). Rather, the non-moving party Amust be able to point to some facts which may or will

entitle him to judgment, or refute the proof of the moving party in some material portion, and. .

.may not merely recite the incantation, >Credibility,= and have a trial on the hope that a jury may

disbelieve factually uncontested proof.@        Id. at 353-54.      In sum, summary judgment is

appropriate Aagainst a party who fails to make a showing sufficient to establish the existence of an

element essential to that party=s case, and on which that party will bear the burden of proof at trial.@

Daniels, 396 F.3d at 735.

               While a moving party without the burden of proof need only show that the opponent

cannot sustain his burden at trial, a moving party with the burden of proof faces a Asubstantially

higher hurdle.@ Arnett v. Myers, 281 F.3d 552, 561 (6th Cir. 2002). Where the moving party

has the burden, Ahis showing must be sufficient for the court to hold that no reasonable trier of fact

could find other than for the moving party.@ Calderone v. United States, 799 F.2d 254, 259 (6th

Cir. 1986). The Sixth Circuit has emphasized that the party with the burden of proof Amust show

the record contains evidence satisfying the burden of persuasion and that the evidence is so

powerful that no reasonable jury would be free to disbelieve it.@ Arnett, 281 F.3d at 561.

Accordingly, summary judgment in favor of the party with the burden of persuasion Ais

inappropriate when the evidence is susceptible of different interpretations or inferences by the trier

of fact.@ Hunt v. Cromartie, 526 U.S. 541, 553 (1999).




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III.           John Doe

               As noted above, Plaintiff has asserted this action against an unidentified John Doe

described by Plaintiff as the Deputy Sheriff accompanying Deputy Sheriff Tim Dyer on patrol on

April 10, 2015. Defendants have submitted evidence that the Deputy Sheriff in question is

Richard Johnson. (ECF No. 34, Exhibits 1-2, 5). Deputy Johnson has appeared in this matter

and joined the present motion for summary judgment. Plaintiff has failed to respond to the

present motion and, therefore, has presented no evidence on the question of John Doe’s identity.

Defendants’ unrefuted evidence is persuasive. Accordingly, the Court will proceed, substituting

Deputy Sheriff Richard Johnson for John Doe.

IV.            Fourth and Fourteenth Amendment – Defendants Bailey, Dyer, and Johnson

               There is no dispute that Plaintiff was arrested on the night in question. Plaintiff

alleges that his Fourth Amendment rights were violated because he was arrested “without probable

cause. . .in reckless disregard of exculpatory facts and circumstances.”

               Plaintiff’s claim that his arrest was unlawful is governed by the Fourth Amendment.

See Manuel v. City of Joliet, Ill., 137 S.Ct. 911, 917 (2017) (recognizing that a seizure satisfies the

Fourth Amendment if it is “based on probable cause to believe that the individual has committed

a crime”). Defendants have submitted evidence that on the night in question, Deputies Dyer and

Johnson were on patrol together when they encountered a vehicle being operated without a current

registration. (ECF No. 34, Exhibits 1-5). Deputy Dyer effected a traffic stop on the vehicle and

made contact with the driver who produced a Michigan identification card, rather than a driver’s

license, identifying himself as Jamie Lamont Hall, the plaintiff in this action. (ECF No. 34,

Exhibits 1-5). Further investigation by Dyer revealed that Plaintiff’s “motor vehicle operator’s


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license was currently suspended” and, moreover, that there were presently “five (5) outstanding

warrants for the arrest of Jamie Lamont Hall.” (ECF No. 34, Exhibits 1-5). Accordingly,

Plaintiff was arrested and was subsequently convicted of operating a motor vehicle with a

suspended license. (ECF No. 34, Exhibits 1-5, 7).

               Defendants have presented evidence establishing that there existed probable cause

to arrest Plaintiff for operating a motor vehicle without a valid license, not to mention probable

cause to arrest Plaintiff on the five outstanding arrest warrants. See United States v. McClain,

444 F.3d 556, 562-63 (6th Cir. 2005) (probable cause is defined as “reasonable grounds for belief,

supported by less than prima facie proof but more than mere suspicion” that a crime has been

committed). Plaintiff has failed to introduce evidence to the contrary. Accordingly, Defendants

Bailey, Dyer, and Johnson are entitled to summary judgment as to Plaintiff’s Fourth Amendment

claims.

               Plaintiff’s Fourteenth Amendment claim fares no better. As courts have long

recognized, “the Due Process Clause of the Fourteenth Amendment does not require any additional

procedures beyond those mandated by the Fourth Amendment.” Radvansky v. City of Olmsted

Falls, 395 F.3d 291, 313 (6th Cir. 2005). Thus, where challenged conduct satisfies the Fourth

Amendment, such conduct cannot, as a matter of law, be found to violate the Fourteenth

Amendment.      Ibid.   Accordingly, Defendants Bailey, Dyer, and Johnson are entitled to

summary judgment as to Plaintiff’s Fourteenth Amendment claims.

V.             Municipal Liability – Berrien County Defendants

               Plaintiff alleges that Defendants Berrien County and the Berrien County Sheriff’s

Department violated his Fourth and Fourteenth Amendment rights because they failed to properly


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train and supervise Defendants Dyer and Jonson.           A municipality or other entity of local

government may be held liable under § 1983 if “the governmental body itself ‘subjects’ a person

to a deprivation of rights or ‘causes’ a person ‘to be subjected’ to such deprivation.” Connick v.

Thompson, 563 U.S. 51, 60 (2011). Governmental entities, however, “are not vicariously liable

under § 1983 for their employees’ actions,” but instead can only be held liable for “their own

illegal acts.” Id. To impose liability on a governmental entity, the plaintiff “must prove that

action pursuant to official municipal policy caused their injury.” Id. at 60-61. In this context,

official municipal policy “includes the decisions of a government’s lawmakers, the acts of its

policymaking officials, and practices so persistent and widespread as to practically have the force

of law.” Id. at 61.

               To prevail on his failure to train claims, Plaintiff must establish that (1) Defendants

were deliberately indifferent to the need to train Defendants Dyer and Johnson and (2) the lack of

training caused Plaintiff to suffer a violation of his rights. Id. at 60. To prevail on his failure to

supervise claims, Plaintiff “must show that the city acted with ‘deliberate indifference’ to the risk

of [the constitutional violation] and that its deliberate indifference was the ‘moving force’ behind

the [constitutional violation].” Amerson v. Waterford Twp., 562 Fed. Appx. 484, 492 (6th Cir.,

Apr. 15, 2014). Despite having been afforded ample time to conduct discovery, Plaintiff has

failed to present any evidence which would support these claims. Accordingly, Defendants are

entitled to summary judgment as to Plaintiff’s municipal liability claims.

VI.            False Imprisonment

               Plaintiff alleges that Defendants Berrien County and Berrien County Sheriff’s

Department committed the tort of false imprisonment when Defendants Dyer and Johnson arrested


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Plaintiff without probable cause. Under Michigan law, the elements of false imprisonment are:

(1) an act committed with the intention of confining another; (2) the act directly or indirectly results

in such confinement; and (3) the person confined is conscious of his confinement. Moore v. City

of Detroit, 652 N.W.2d 688, 691 (Mich. Ct. App. 2002). The “essence of a claim of false

imprisonment is that the imprisonment is false, i.e., without right or authority to do so.” Ibid.

As previously discussed, however, Defendants Dyer and Johnson lawfully arrested Plaintiff.

Accordingly, Defendants are entitled to summary judgment on this claim.

VII.            Malicious Prosecution

               Plaintiff alleges that Defendants Berrien County and Berrien County Sheriff’s

Department committed the tort of malicious prosecution by “instigating, initiating, or continuing

prosecution on false allegations that Plaintiff had possessed, delivered, or manufactured cocaine.”

To establish malicious prosecution, Plaintiff must establish the following elements: (1) a criminal

prosecution was initiated against Plaintiff and Defendants made, influenced, or participated in the

decision to prosecute; (2) there was no probable cause for the criminal prosecution; (3) as a

consequence of the legal proceeding, Plaintiff suffered a deprivation of liberty apart from the initial

seizure; and (4) the criminal proceeding was resolved in Plaintiff’s favor.           See Johnson v.

Moseley, 790 F.3d 649, 654 (6th Cir. 2015).            Moreover, Plaintiff must demonstrate that

Defendants acted with “some kind of blameworthiness, something beyond mere negligence or

innocent mistake.” Id. at 655. Plaintiff has failed to present evidence which would enable him

to prevail on these claims. Accordingly, Defendants are entitled to summary judgment as to

Plaintiff’s malicious prosecution claims.




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VIII.          Intentional Infliction of Emotional Distress

               Plaintiff alleges that Defendants Berrien County and Berrien County Sheriff’s

Department “through the acts and omissions of agents and/or employees of the Defendants

subjected Plaintiff to intentional infliction of emotional distress.”

               To prevail on a claim of Intentional Infliction of Emotional Distress (IIED),

Plaintiff must establish the following elements: (1) defendant’s extreme and outrageous conduct;

(2) defendant’s intent or recklessness; (3) causation; and (4) the severe emotional distress of the

plaintiff. Ghannam v. Weiss, 2013 WL 3025143 at *1 (Mich. Ct. App., June 18, 2013). In the

context of an IIED claim, “extreme and outrageous conduct” has been defined as conduct “so

outrageous in character, and so extreme in degree, as to go beyond all possible bounds of decency,

and to be regarded as atrocious, and utterly intolerable in a civilized community.” Yost v.

Paychex, Inc., 1998 WL 1989811 at *16 (Mich. Ct. App., Sept. 29, 1998).

               As discussed above, the unrefuted evidence establishes that Plaintiff was properly

arrested for committing a crime for which he was subsequently convicted. Plaintiff’s arrest was

also proper in light of the fact that there existed five outstanding warrants for his arrest. Plaintiff

has failed to present any evidence that would satisfy any of the elements of this tort. Accordingly,

Defendants are entitled to summary judgment on these claims.




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                                      CONCLUSION

              For the reasons articulated herein, Defendants’ Motion for Summary Judgment,

(ECF No. 33), is granted and this matter is terminated. An Order consistent with this Opinion

will enter.


Date: July 13, 2018                                       /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         United States Magistrate Judge




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